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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )                8:11CR251
                         Plaintiff,                       )
                                                          )
        vs.                                               )                 ORDER
                                                          )
DONALD WILLIAM MILLER, JR.,                               )
                                                          )
                         Defendant.                       )



        This matter is before the court on the motion for an extension of time by defendant Donald

W illiam Miller, Jr. (Miller) (Filing No. 38). Miller seeks a thirty day extension of time in which to file

pretrial motions in accordance with the progression order. Miller's counsel represents that Miller will file

an affidavit wherein he consents to the motion and acknowledges he understands the additional time

may be excludable time for the purposes of the Speedy Trial Act. Upon consideration, the motion will

be granted.



        IT IS ORDERED:

        Defendant Miller's motion for an extension of time (Filing No. 38) is granted. Miller is given until

on or before October 24, 2011, in which to file pretrial motions pursuant to the progression order. The

ends of justice have been served by granting such motion and outweigh the interests of the public and

the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,

the time between September 9, 2011 (original motion deadline), and October 24, 2011, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for

the reason defendant's counsel requires additional time to adequately prepare the case, taking into

consideration due diligence of counsel, and the novelty and complexity of this case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).



        DATED this 23rd day of September, 2011.

                                                          BY THE COURT:


                                                          s/Thomas D. Thalken
                                                          United States Magistrate Judge
